       Case 4:17-cv-03188-HSG Document 118 Filed 02/12/18 Page 1 of 1

 1

 2
                                   UNITED STATES DISTRICT COURT
 3                               NORTHERN DISTRICT OF CALIFORNIA
                                        OAKLAND DIVISION
 4
     HYPERMEDIA NAVIGATION LLC,                                Case No. 4:17-CV-03188-HSG
 5
                    Plaintiff,                                 [PROPOSED] ORDER OF
 6                                                             STIPULATION OF DISMISSAL
 7            v.
 8   YAHOO HOLDINGS INC.,
 9
                    Defendant.
10

11

12                                        ORDER OF DISMISSAL

13           Pursuant to Fed. R. Civ. P. 41(a), Hypermedia Navigation LLC (“Plaintiff”) and Defendant
14   Yahoo Holdings Inc., (“Defendant”) (collectively, the “Parties”), parties to this legal action, by

15   and through their attorneys, jointly moved for an order approving their stipulation of dismissal
     with prejudice. After consideration of such motion, it is hereby GRANTED, and it is ORDERED
16
     that:
17
             1.    All of Plaintiff’s pending claims are dismissed with prejudice.
18           2.    Each Party is to bear its own costs and attorneys’ fees with respect to this legal action
19   and the entry of this Stipulation and Order of Dismissal with Prejudice.
20
21

22

23

24   DATED: __________________
             2/12/2018

25                                                            ___________________________________
                                                              The Honorable Haywood S. Gilliam, Jr.
26                                                                  United States District Judge

27
28


                                                        -1-
                             [PROPOSED] ORDER OF STIPULATION OF DISMISSAL
                                        CASE NO. 4:17-cv-3188-HSG
